                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )        NO. 3:06-00031
                                            )        JUDGE CAMPBELL
JAMES ROBERTSON                             )


                                           ORDER


       Pending before the Court is a Petition for Revocation of Supervised Release (Docket No.

828). The Court will hold a hearing on the Petition on November 2, 2012, at 1:00 p.m.

       IT IS SO ORDERED.



                                                     __________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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